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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

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                                                                               DISTRlCl
UNITED STATES OF AMERICA,

                                                         DECISION AND ORDER
              V.

                                                         1:18-CR-00I26 EAW
DEONTE COOPER a/k/a Terry,

                     Defendant.



1.     FACTUAL AND PROCEDURAL BACKGROUND


       Defendant Deonte Cooper ("Defendant") is one of ten defendants charged in a

Superseding Indictment filed on October 11, 2018. (Dkt. 31). Defendant stands accused

of conspiracy to commit firearms offenses as alleged in Count One, in violation of 18

U.S.C. § 371. This Court referred all pretrial matters in the case to United States Magistrate

Judge H. Kenneth Sehroeder, Jr. pursuant to 28 U.S.C. § 636(b)(l)(A)-(B). (Dkt. 153).

       On February 15, 2019, Defendant filed pretrial motions seeking, among other

things, to suppress evidence seized from 6259 Runkle Avenue in Ashtabula, Ohio, on May

30, 2018, pursuant to a search warrant issued by Ashtabula Municipal Court Judge Laura

Digiaeomo. (Dkt. 69; see also Dkt. 79 (Defendant's Affidavit)). Defendant also sought

suppression of his statements made during an interview by law enforcement on the same

date. (Id.). Judge Sehroeder determined that an evidentiary hearing was necessary to

resolve the suppression issues (Dkt. 91), and a hearing was conducted on June 24, 2019,

where the Government presented testimony ofAshtabula City Police Department Detective

Michael Palinkas and ATF Special Agent Elizabeth Gardner (Dkt. 107). Defendant and

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the Government filed post-hearing memoranda in support of their respective positions.

(Dkt. 115; Dkt. 116).

       On September 23, 2019, Judge Schroeder issued a Report, Recommendation and

Order addressing Defendant's pending motions. (Dkt. 119). Judge Schroeder concluded

that both Detective Palinkas and Special Agent Gardner testified credibly at the hearing.

{Id. at 8 n.2, 13 n.3). With respect to the motion to suppress statements. Judge Schroeder

concluded:


      [Defendant] made a knowing and voluntary waiver of his rights, including
      the right to have a lawyer present during the interrogation and ... he was in
      no way coerced or overpowered by the agents in their questioning of the
      defendant and . . . his replies and statements made to the agents were
      voluntarily given.

{Id. at 9). Thus, Judge Schroeder recommended that Defendant's motion to suppress

statements be denied. {Id.).

       With respect to the motion to suppress evidence seized pursuant to the search

warrant issued by Judge Digiacomo, Judge Schroeder found that the warrant expressly

incorporated, adopted and attached the search warrant affidavit completed by Detective

Palinkas. {Id. at 10). Specifically, the warrant stated: "WHEREAS,there has been filed

with me an affidavit for a Search Warrant, a copy ofwhich is hereby annexed,incorporated

and adopted herein as ifthe same were fully written herein    "(Govt. Ex. 1 (Warrant) at

1). Thus, according to Judge Schroeder's findings, "[s]ince the affidavit of Detective

Palinkas sworn to May 30, 2018 was properly incorporated and annexed to the search

warrant, that affidavit constitutes a legally appropriate particularized description of the

items to be seized pursuant to the search warrant." (Dkt. 119 at 12). Namely,the affidavit
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of Detective Palinkas sought to search for the following items believed to be at 6259

Runkle Avenue:"Heroin,digital scales, drug packaging materials, pipes,syringes,firearms

& other prohibited weapons     "(Govt. Ex. 1 (Affidavit) at 7).

       Judge Schroeder also rejected Defendant's arguments that the search warrant was

invalid because Defendant was not personally handed a copy of the warrant, and that

probable cause was lacking for issuance of the warrant. (Dkt. 119 at 13-19). Finally,

relying on United States v. Leon, 468 U.S. 897 (1984), Judge Schroeder alternatively

concluded that the good faith exception applied. {Id. at 20). Accordingly, Judge Schroeder

recommended denying Defendant's motion to suppress evidence seized from 6259 Runkle

 Avenue,Ashtabula, Ohio,on May 30,2018, pursuant to the search warrant issued by Judge

Digiacomo. {Id.).

       On October 7, 2019, Defendant filed objections to Judge Schroeder's Report and

 Recommendation. (Dkt. 127). Defendant's objections were limited to his argument that

 the warrant was not sufficiently particularized. (M).' In other words. Defendant did not



'      Defendant's objections reference the search warrant as being "overly broad" and
not sufficiently particularized, and he appears to use those terms interchangeably. {See
Dkt. 127). Defendant's objections relate to the failure of the warrant to sufficiently
particularize the items to be seized because only the affidavit described those items.
Defendant has not argued that the items actually referenced in the affidavit were overly
broad in view ofthe probable cause determination by Judge Digiacomo. Overbreadth and
lack of particularization do not have the same meaning:

       Despite their frequent conflation,'[overjbreadth and particularity are related
       but distinct concepts. A warrant may be broad, in that it authorizes the
       government to search an identified location or object for a wide range of
       potentially relevant material, without violating the particularity
       requirement.'... In other words,a warrant is overbroad ifthe description of
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object to Judge Schroeder's conclusions with respect to the motion to suppress statements,

nor did Defendant challenge Judge Schroeder's conclusions that probable cause supported

issuance ofthe warrant and that Defendant did not have to be personally handed the search

warrant in order for it to be effective. (See id). Defendant also failed to address Judge

Schroeder's conclusion as to the applicability ofthe Leon good faith exception. (See id.).

      Instead, the focus of Defendant's objections is on Judge Schroeder's factual

conclusion that the affidavit was attached to the search warrant. Defendant relies on a

photograph of the search warrant left at the scene of the search (Govt. Ex. 8; Def. Ex. 1)

and testimony from Special Agent Gardner about that photograph (Dkt. 127 at 2).

According to Defendant, the photograph demonstrates that the affidavit was not attached

to the warrant, and therefore the affidavit cannot be relied upon to cure the lack of

particularization in the warrant. (Id.). The Government filed a memorandum in opposition

to Defendant's objections on October 21, 2019 (Dkt. 136), at which time the matter was

taken under advisement by the undersigned(Dkt. 128).




       the items to be searched or seized is broader than the limits imposed by the
       probable cause justifying the warrant.

United States v. Conley, 342 F. Supp. 3d 247, 271 (D. Conn. 2018)(citations omitted).
While Defendant initially challenged the probable cause determination for issuance ofthe
warrant, he has not objected to Judge Schroeder's conclusion that probable cause supported
issuance of the warrant. Accordingly, any argument that the warrant was overly broad in
view of the probable cause determination has not been properly raised before this Court.
Fed. R. Crim. P. 59(b)(2)("Failure to object in accordance with this rule waives a party's
right to review.").
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II.     STANDARD OF REVIEW

        A district court reviews any specific objections to a report and recommendation on

a motion to suppress under a de novo standard. Fed. R. Crim. P. 59(b)(3); see also 28

U.S.C. § 636(b)(1)(C)("A judge of the court shall make a de novo determination ofthose

portions of the report or specified proposed findings or recommendations to which

objection is made."). To trigger the de novo review standard, objections to a report and

recommendation "must be specific and clearly aimed at particular findings in the

magistrate judge's proposal." Molefe v. KLMRoyal Dutch Airlines, 602 F. Supp. 2d 485,

487(S.D.N.Y. 2009). The Court is not required to review de novo those portions ofa report

and recommendation to which objections were not filed. Fed. R. Crim. P. 59(b)(2)

("Failure to object in accordance with this rule waives a party's right to review."); see

UnUed States v. Male Juvenile (95-CR-1074), 121 F.3d 34, 38 (2d Cir. 1997)("We have

adopted the rule that failure to object timely to a magistrate judge's report may operate as

a waiver of any further judicial review ofthe decision, as long as the parties receive clear

notice ofthe consequences oftheir failure to object.").

III.     ANALYSIS


        A.     Particularization of Warrant

         The Fourth Amendment requires that a search warrant be sufficiently particular by

identifying the specific offense for which probable cause has been established, describing

the place to be searched, and specifying the items to be seized by their relation to the

designated crimes. United States v. Lustyik, 57 F. Supp. 3d 213,225-26(S.D.N.Y. 2014).

"[T]he particularity requirement guards against general searches that leave to the unguided

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discretion of the officers executing the warrant the decision as to what items may be

seized." United States v. Riley, 906 F.2d 841, 844 (2d Cir. 1990). Here, Defendant

challenges that third aspect of the particularity requirement—^namely, that the warrant

failed to specify on its face the items to be seized.

       The Supreme Court has recognized that the Fourth Amendment's requirement that

a warrant specify on its face with particularity all items for which the search is authorized,

can be satisfied by reference to a supporting affidavit"ifthe warrant uses appropriate words

of incorporation, and if the supporting document accompanies the warrant." Groh v.

Ramirez,540 U.S. 551, 557-58(2004); see also United States v. Waker,534 F.3d 168, 172

(2d Cir. 2008)(although search warrant did not list on its face items to be seized, where

the officer who applied for the warrant attached his affidavit and the warrant included

deliberate and unequivocal language of incorporation, motion to suppress was properly

denied). Here, Judge Schroeder concluded: "Since the affidavit of Detective Palinkas

sworn to May 30, 2018 was properly incorporated and annexed to the search warrant, that

affidavit constitutes a legally appropriate particularized description of the items to be

seized pursuant to the search warrant." (Dkt. 119 at 12). Indeed, the warrant expressly

states that the affidavit is "annexed, incorporated and adopted herein as if the same were

fully written herein."(Govt. Ex. 1 (Warrant) at 1).

       Contrary to Defendant's arguments,the Court is not persuaded that a photograph of

the cover page of the warrant left at 6259 Runkle Avenue demonstrates otherwise.^ The


^      The record is clear that the affidavit accompanied the warrant when it was signed
by Judge Digiacomo. (See Dkt. 107 at 13-15 (Detective Palinkas testifying that his
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photograph relied upon by Defendant is far from clear (Govt. Ex. 8/Def. Ex. 1), and the

testimony of Special Agent Gardner, relied upon by Defendant, actually demonstrates that

she was unfamiliar with the length of the document depicted in the photograph (Dkt. 107

at 84(stating "I don't know. It's not my warrant," in response to question as to the number

ofpages for the warrant), 85(in response to being shown photograph, stating "I do see two

pages. I don't know ifthere's more than that or not.")). Accordingly, the Court finds that

Judge Schroeder's factual finding that the affidavit was attached to the warrant is supported

by the record. Based on a de novo review, the Court concludes that the warrant was

sufficiently particularized because it used appropriate words of incorporation and the

affidavit accompanied the warrant. As a result. Defendant's motion to suppress is denied.




affidavit was presented to Judge Digiacomo with the warrant)). Neither party has briefed
whether the failure to include a copy of the affidavit with the warrant when it was left at
the place ofexecution would defeat the applicability of Groh under the circumstances {i.e.,
where the affidavit indisputably accompanied the warrant at the time ofits signing and was
known to the officer executing the warrant). Cf. Groh, 540 U.S. at 557 (explaining that
Fourth Amendment's requirement of particularity is not served by "some other document,
somewhere,[that] says something about the objects of the search, but the contents of that
document are neither known to the person whose home is being searched nor available for
inspection."). As a result, the Court specifically does not resolve that issue, but rather
assumes for purposes of this Decision and Order that Groh requires that the Fourth
Amendment's particularity requirements are only satisfied when the copy of the warrant
left at the place of execution included the incorporated affidavit.
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       B.     Good Faith


       Even if the affidavit was not attached to the warrant, the Court agrees with Judge

Schroeder that the Leon good faith exception applies. Indeed, Defendant has not

challenged that finding by Judge Schroeder, and thus any objection to that finding has been

waived. See Fed. R. Grim. P. 59(b)(2); Male Juvenile (95-CR-1074), 121 F.3d at 38.

      "A violation ofthe Fourth Amendment does not necessarily result in the application

ofthe exclusionary rule." United States v. Rosa,626 F.3d 56,64(2d Cir. 2010). "Indeed,

exclusion 'has always been our last resort, not our first impulse.'" Herring v. United States,

555 U.S. 135, 140 (2009) (quoting Hudson v. Michigan, 547 U.S. 586, 591 (2006)).

Instead, whether the exclusionary rule applies "depends on the 'efficacy of the rule in

deterring Fourth Amendment violations in the future' as well as a determination that 'the

benefits of deterrence ... outweigh the costs.'" Rosa, 626 F.3d at 64 (quoting Herring,

555 U.S. at 140)). The "'good-faith inquiry is confined to the objectively ascertainable

question whether a reasonably well trained officer would have known that the search was

illegal' in light of'all ofthe circumstances.'" Herring, 555 U.S. at 145(quoting Xeow,468

U.S. at 922 n. 23)). "The good-faith exception first recognized in Leon holds that when

the agents executing a search warrant act with an objectively reasonable good-faith belief

that their conduct is lawful, improperly obtained evidence remains admissible because in

such circumstances, the deterrence rationale loses much of its force, and exclusion cannot

pay its way." United States v. Eldred, 933 F.3d 110, 118 (2d Cir. 2019)(quotation and

citation omitted).



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       In Leon, the Supreme Court identified four circumstances in which the good faith

exception does not apply and the officer's reliance on the warrant will not be considered to

have been in good faith:

      (1) where the issuing magistrate has been knowingly misled;(2) where the
      issuing magistrate wholly abandoned his or her judicial role;(3) where the
      application is so lacking in indicia of probable cause as to render reliance
      upon it unreasonable; and (4) where the warrant is so facially deficient that
      reliance upon it is unreasonable.

United States v. Moore,968 F.2d 216, 222(2d Cir. 1992)(citing Leon,468 U.S. at 923)).

"These exceptions reflect the general rule that, '[t]o trigger the exclusionary rule, police

conduct must be sufficiently deliberate that exclusion can meaningfully deter it, and

sufficiently culpable that such deterrence is worth the price paid by the justice system.'"

United States v. Romain, 678 F. App'x 23, 25 (2d Cir. 2017) (alteration in original)

(quoting Herring, 555 U.S. at 144). '"The pertinent analysis of deterrence and culpability

is objective,' and "'our good-faith inquiry is confined to the objectively ascertainable

question whether a reasonably well trained officer would have known that the search was

illegal" in light of "all of the circumstances.'"" Rosa, 626 F.3d at 64 (quoting Herring,

555 U.S. at 145).

       "'The burden is on the government to demonstrate the objective reasonableness of

the officers' good faith reliance' on an invalidated warrant." United States v. Clark, 638

F.3d 89, 100 (2d Cir. 2011)(citations omitted). Moreover, as counseled by the Second

Circuit, in assessing whether the government has met its burden, a court must consider that

"in Leon,the Supreme Court strongly signaled that most searches conducted pursuant to a

warrant would likely fall within its protection." Id.

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       The Second Circuit has recognized that after Groh, a court may not rely on

unincorporated, unattached supporting documents to cure a constitutionally defective

warrant, but"those documents are still relevant to our determination of whether the officers

acted in good faith, because they contribute to our assessment ofthe officers' conduct in a

particular case." Rosa, 626 F.3d at 64(where warrant failed to link items to be searched

and seized to suspected criminal activity, suppression not warranted where supporting

documents provided that link, search was executed by team led by application's affiant,

and there was no evidence that law enforcement officers actually relied on the defective

warrant, as opposed to their knowledge ofthe investigation and the contemplated limits of

the issuing magistrate's authorization). Thus, even where the technical requirements of

Groh are not satisfied, the Leon good faith exception may justify denial of a suppression

motion. See Romain, 678 F. App'x at 25-26 (where text of warrant did not reference

criminal statute that defendant was charged with violating, but supporting documents

contained those references, good faith exception applied); United States v. Conley, 342 F.

Supp. 3d 247, 274(D. Conn. 2018)(where search warrant affiant and officer in charge of

execution of search were the same, and search warrant application referenced crimes

related to the search and referenced supporting affidavit, good faith exception applied);

Lustyik, 57 F. Supp. 3d at 226-27 (where warrant did not incorporate attachment setting

forth list of items to be seized, suppression was not warranted where officers executed

warrant in good faith and were guided by the attachment to the warrant); United States v.

Cyr, No. 2:14-cr-19, 2014 WL 6386805, at *8 (D. Vt. Nov. 14, 2014)(where failure to



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incorporate application into warrant was the result ofan inadvertent act ofnegligence, good

faith exception applied).

       Here,the Court agrees with Judge Schroeder as to the applicability ofthe good faith

exception. In other words, even if the record established that the search warrant affidavit

was not attached to the warrant that was left at 6259 Runkle Avenue,and even ifthis failure

constituted a violation ofthe Fourth Amendment's particularity requirement, it is apparent

that any technical failure to comply with the Fourth Amendment's particularity

requirement is excused by good faith. Detective Palinkas was familiar with the contents

ofhis affidavit, he was present at the scene ofthe search,the warrant expressly incorporated

and referenced the affidavit, and there is no evidence that the search exceeded the scope

referenced in the affidavit. Thus, ifthe affidavit was not attached to the warrant left at the

scene, it plainly would have been through inadvertence and no deterrence rationale would

be served by suppression. Again, Defendant made no effort to object to Judge Schroeder's

findings in this regard, and there is no basis for concluding that the Leon good faith

exception does not apply under the circumstances.

IV.    CONCLUSION


       The Court has conducted a careful review of the Report and Recommendation as

well as the filings previously made in the case and the record of the hearing conducted

before Judge Schroeder. With respect to those issues specifically raised in the objections

filed by Defendant, for the reasons set forth above and for the reasons set forth in Judge

Schroeder's Report and Recommendation, the Court agrees with Judge Schroeder that

Defendant's motion to suppress must be denied. In addition, for all other issues raised by

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Defendant's motions filed before Judge Schroeder, but not specifically objected to by

Defendant, the Court finds no reason to reject or modify the Report and Recommendation

and therefore the Court accepts and adopts the Report and Recommendation (Dkt. 119)in

in its entirety and denies Defendant's motion to suppress evidence and statements (Dkt.

69).

       SO ORDERED.




                                               ELIZABpTH^WOLFORD
                                               Unitedstates District Judge
Dated:       November 20,2019
             Rochester, New York




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